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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 UNITED STATES OF AMERICA,


                    Plaintiff/Counterclaim
                    Defendant,
                                                    Civil Docket No. 1:24-cv-00893-CAB
        v.

 CITIZENS FOR A PRO-LIFE SOCIETY,
 INC., et al.,
                    Defendants,

 CHRISTOPHER MOSCINSKI,

                    Defendant/Third-Party
                    Plaintiff,

        v.

 MERRICK GARLAND, individually and in
 his official capacity as Attorney General of the
 United States of America,

                    Third-Party Defendant.


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Defendant/Third-Party

Plaintiff Christopher Moscinski, Plaintiff/Counterclaim Defendant United States of America, and

Third-Party Defendant Merrick Garland, individually and in his official capacity as Attorney

General of the United States, by and through their undersigned counsel, hereby stipulate to the

dismissal of Moscinski’s counterclaims and third-party complaint with prejudice.
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Dated: February 17, 2025



AMERICAN FREEDOM LAW CENTER

/s/ Robert J. Muise                                BRETT A. SHUMATE
Robert J. Muise, Esq. (MIP62849)                   Acting Assistant Attorney General
P.O. Box 131098
Ann Arbor, Michigan 48113                          DANIEL SCHWEI
Tel: (734) 635-3756                                Special Counsel
rmuise@americanfreedomlawcenter.org
                                                   /s/ John Robinson
Counsel for Defendant/Third-Party Plaintiff        JOHN ROBINSON
Christopher Moscinski                              Trial Attorney
                                                   U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street, NW
                                                   Washington, D.C. 20005
                                                   (202) 616-8489
                                                   john.j.robinson@usdoj.gov

                                                  Counsel for Plaintiff/Counterclaim
                                                  Defendant United States of America


                                                  C. SALVATORE D’ALESSIO, JR.
                                                  Director,
                                                  Civil Division, Torts Branch

                                                  ANDREA W. MCCARTHY
                                                  Deputy Director,
                                                  Civil Division, Torts Branch

                                                  /s/ Connor J. Hackert
                                                  CONNOR J. HACKERT,
                                                  Trial Attorney, Torts Branch, Civil Division,
                                                  U.S. Department of Justice
                                                  P.O. Box 7146, Ben Franklin Station
                                                  Washington, DC 20044
                                                  Phone: 202-616-4332
                                                  Email: Connor.Hackert@usdoj.gov

                                                  Counsel for Attorney General Garland in his
                                                  personal capacity



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